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              EXHIBIT 4
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

BEIJING MEISHE NETWORK                           §
TECHNOLOGY CO., LTD.,                            §
                                                 §
                   Plaintiff,                    §
                                                 §
       v.                                        §      NO. 6:21-cv-504-ADA-DTG
                                                 §
TIKTOK INC., TIKTOK PTE. LTD.,                   §
BYTEDANCE LTD., and BYTEDANCE                    §
INC.,                                            §
                                                 §
                   Defendants.


                            DECLARATION OF NITIN KASTURI

       1.      My name is Nitin Kasturi, and I am a consultant who has been employed by R.M.B.

Consulting, Inc. (“RMB”) as an hourly contractor on a number of matters since 2022. I am over

eighteen years of age and qualified to make this declaration. I have personal knowledge of the

matters set forth in this declaration, and if called upon as a witness, I could and would testify

competently to them.

       2.      Since 2022, I have been employed by RMB as support personnel for Mr. Nigel

Jones in a number of litigation matters. These matters include: Ericsson v. Apple (337-TA-1299),

TQ Delta v. Nokia (21-cv-309-JRG (EDTX)), TQ Delta v. CommScope (21-cv-310-JRG

(EDTX)). These matters are identified on my CV, which I prepared for this case and understand

has been provided to counsel for the plaintiff in this matter. A true and correct copy of this CV is

attached at Exhibit A.

       3.      I am employed by RMB as support personnel for Mr. Nigel Jones in this matter. I

am being compensated in this matter by RMB. I do not have an agreement with Defendants or
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their counsel in this matter. I receive no compensation or reimbursement from Defendants or their

counsel in this matter.

       4.      Mr. Jones directs and oversees my work in this matter, and I report directly to him.

I have not been asked to, have not been retained to, and am not planning to provide expert

testimony in this matter.

       5.      My role as support personnel for Mr. Jones employed by RMB for this litigation

matter described in ¶¶ 3 and 4 of this declaration is the same role as support personnel for Mr.

Jones employed by RMB in each of the litigation matters identified in ¶ 2 of this declaration.




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     I declare under penalty of perjury that the foregoing is true and correct.



            July 1
Executed on ________, 2023
                                                 Nitin Kasturi




                                           3
